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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS



WHALECO INC.

                   Plaintiff,

     v.
                                        No. 1:23-CV-11596 (DJC)
SHEIN US SERVICES, LLC, SHEIN
DISTRIBUTION CORPORATION, and
ROADGET BUSINESS PTE. LTD.

                   Defendants.



      DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                    THEIR MOTION TO DISMISS
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         Pursuant to Rule 201 of the Federal Rules of Evidence, Defendants Shein US Services,

LLC, Shein Distribution Corporation, and Roadget Business Pte. Ltd. (collectively, “Defendants”)

request this Court take judicial notice of the following documents in consideration of Defendants’

concurrently-filed Motion to Dismiss:

         Exhibit 1:         An official government report titled “2022 Review of Notorious Markets

for Counterfeiting and Piracy,” by the Office of the United States Trade Representative, published

on       January      31,     2023,     available    at         https://ustr.gov/sites/default/files/2023-

01/2022%20Notorious%20Markets%20List%20(final).pdf.

         Exhibit 2:         PDD Holdings Inc.’s 2022 Annual Report (Form 20-F) (Apr. 26, 2023),

filed with the SEC, available at https://investor.pddholdings.com/static-files/757dfc0f-ba08-4455-

944c-89997c9dbca8.

         Exhibit 3:         The order granting Roadget’s motion for an emergency temporary

restraining order in Roadget Business Pte. Ltd. v. Whaleco, Inc., No. 1:22-cv-07119, Dkt. 97 (N.D.

Ill. July 31, 2023).

         Exhibit 4:         The temporary restraining order in Roadget Business Pte. Ltd. v. Whaleco,

Inc., No. 1:22-cv-07119, Dkt. 110 (N.D. Ill. Aug. 11, 2023).

         Exhibit 5:         The order extending the temporary restraining order through briefing and a

determination on Shein’s motion for a preliminary injunction in Roadget Business Pte. Ltd. v.

Whaleco, Inc., No. 1:22-cv-07119, Dkt. 144 (N.D. Ill. Aug. 25, 2023).

         Exhibit 6:         The complaint filed in Whaleco Inc. v. Temuds.com et al., No. 3:23-cv-

00367-LJC, Dkt. 1 (N.D. Cal., Jan. 25, 2023).

         Exhibit 7:         A printout of a webpage from GAP’s website listing “Pocket T-Shirt” at

$5.97,                                              available                                          at




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https://www.gap.com/browse/product.do?pid=440850042&vid=1&tid=gppl000066&kwid=1&a

p=7&gad=1&gclid=CjwKCAjwloynBhBbEiwAGY25dCw8xbyQFr1iWru4635FRUXaA7wPO6

4HZmpIYY02RxoPbOUgrt-p-BoCDGEQAvD_BwE&gclsrc=aw.dss.

         Exhibit 8:      A printout of a webpage from ZARA’s website listing “Lyocell Cropped T-

shirt”     at   $5.99,        available      at   https://www.zara.com/us/en/lyocell-cropped-t-shirt-

p00085029.html?v1=247637952&v2=1566992.

         Exhibit 9:      A printout of a webpage from H&M’s website listing “Cotton T-shirt” at

$5.99, available at https://www2.hm.com/en_us/productpage.0979236004.html.

         Exhibit 10:     A printout of a webpage from Forever21’s website listing “Basic

Organically           Grown         Cotton        Tee”        at      $4.99,       available       at

https://www.forever21.com/us/2000457787.html?dwvar_2000457787_color=08.

         Exhibit 11:     A printout of a webpage from Primark’s website listing “Crew Neck Short

Sleeve T-Shirt” at $4.50, available at https://www.primark.com/en-us/p/crew-neck-short-sleeve-

t-shirt-yellow-991062705208.

         Exhibit 12:     A printout of a webpage from Boohoo’s website listing “Oversized

California Script Graphic T-shirt” at $6.00, available at https://us.boohoo.com/oversized-

california-script-graphic-t-shirt/BMM46500.html.

         Exhibit 13:     A printout of a webpage from Walmart’s website listing “Oalirro Women’s

Tops, Tees & Blouses Deals Clearance Women Tops and Blouses Women’s Fashion Plus-Size

Solid O-Neck Loose Short Sleeve T-shirt Pullover Tops Blue” at $3.99, available at

https://www.walmart.com/ip/Oalirro-Women-s-Tops-Tees-Blouses-Deals-Clearance-Women-

Tops-Fashion-Plus-Size-Solid-O-Neck-Loose-Short-Sleeve-T-shirt-Pullover-Blue/2131276981.




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       Exhibit 14:     A printout of a webpage from Amazon’s website listing “3D Print T-Shirts

for Men, Men’s Summer Comfy Daily Tops Short Sleeve Crewneck Tees Casual Cool Athletic

Shirts” at $1.99, available at https://www.amazon.com/T-Shirts-Mens-Crewneck-Athletic-

Shirts/dp/B0BKWN6GRJ/ref=sr_1_10?crid=1UJIJEQH7N94&keywords=t-

shirt%2B1%2Bpack&qid=1692646090&refinements=p_36%3A-

600&rnid=2661611011&sprefix=t-shirt%2B1%2Bpack%2Caps%2C103&sr=8-10&th=1&psc=1.

I.     LEGAL STANDARD

       Courts may take judicial notice of facts that are “not subject to reasonable dispute because

[they] . . . can be accurately and readily determined from sources whose accuracy cannot

reasonably be questioned.” Fed. R. Evid. 201(b)(2). Courts may “take judicial notice at any stage

of the proceeding.” Fed. R. Evid. 201(d). Thus, courts may properly consider “matters of which

judicial notice may be taken” when ruling on a motion to dismiss. Nollet v. Justices of Trial Ct. of

Mass., 83 F. Supp. 2d 204, 208 (D. Mass. 2000), aff’d, 248 F.3d 1127 (1st Cir. 2000). Indeed, “[i]n

evaluating a Rule 12(b)(6) motion,” a court may consider “public records, facts susceptible to

judicial notice, documents sufficiently referred to in the complaint, and documents central to the

plaintiff’s claims” without “converting the motion into one for summary judgment.” Benjamin v.

Fremont Inv. & Loan, No. 17-11727-PBS, 2018 WL 4017595, at *2 (D. Mass. Aug. 22, 2018)

(cleaned up).

II.    DISCUSSION

       Judicial notice of Exhibit 1 —the Office of the United States Trade Representative’s report

titled “2022 Review of Notorious Markets for Counterfeiting and Piracy” — is proper because it

is an official report published by a U.S federal agency on the government’s website. See

Barnstable Cnty. v. 3M Co., No. CV 17-40002, 2017 WL 6452245, at *5 (D. Mass. Dec. 18, 2017)




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(taking judicial notice of “an official investigative report issued by a County committee” on a

motion to dismiss); Kader v. Sarepta Therapeutics, Inc., No. 14-cv-14318-ADB, 2016 WL

1337256, at *11 (D. Mass. Apr. 5, 2016) (taking judicial notice of FDA official statements

published on a government website on a motion to dismiss); Gustavsen v. Alcon Labs., Inc., 272

F. Supp. 3d 241, 252 (D. Mass. 2017) (noting it is “proper for courts to consider” on a motion to

dismiss “public documents put into the record by both plaintiffs and defendants,” including

“material appearing on government websites”).

       Judicial notice of Exhibit 2 — PDD Holdings Inc.’s SEC 2022 Annual Report (Form 20-

F) — is proper because this Court “may consider public filings with the SEC when deciding a

motion to dismiss.” Caviness v. Evans, 229 F.R.D. 354, 359 n. 45 (D. Mass. 2005) (citing

Alternative Energy, Inc. v. St. Paul Fire & Marine Ins. Co., 267 F.3d 30, 33 (1st Cir. 2001)); Fire

& Police Pension Ass’n of Colorado v. Abiomed, Inc., 778 F.3d 228, 232 n.2 (1st Cir. 2015) (taking

judicial notice public filings with the SEC in considering a motion to dismiss); Whitehead v. Inotek

Pharms. Corp., No. 17-CV-10025-LTS, 2018 WL 4732774, at *1 n.3 (D. Mass. June 27, 2018)

(“SEC filings, risk disclosures, and undisputed communications referenced in the complaint are

the sorts of documents courts routinely consider at the Motion to Dismiss stage.”).

       Judicial notice of Exhibits 3 through 6 — court orders and filings in other actions involving

the parties — is proper because this Court may take judicial notice of court documents and orders

in other courts, including the fact of their filing or issuance and the existence of their contents. See

Kowalski v. Gagne, 914 F.2d 299, 305 (1st Cir. 1990) (“[F]ederal courts may take judicial notice

of proceedings in other courts . . . .”); E.I. du Pont de Nemours & Co., Inc. v. Cullen, 791 F.2d 5,

7 (1st Cir. 1986) (taking judicial notice of related complaint filed by plaintiff in state court);

Barnstable Cnty. v. 3M Co., 2017 WL 6452245, at *4 (D. Mass. Dec. 18, 2017) (taking judicial




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notice of the complaint, answer, counterclaim, and third-party complaint from two state court

actions on a motion to dismiss).

       Judicial notice of Exhibits 7 through 14 — printouts of webpages from websites of fast

fashion retailers (as alleged by Plaintiff in the complaint) listing t-shirt prices — is proper because

this Court is permitted to take judicial notice of website postings from corporate websites that are

publicly accessible and are readily verified through an internet search. See Piper v. Talbots, Inc.,

507 F. Supp. 3d 339, 343 (D. Mass. 2020) (taking judicial notice of a corporate webpage on motion

to dismiss because “they are publicly accessible and are, thus, readily verified through an internet

search”); Local No. 8 IBEW Ret. Plan & Trust v. Vertex Pharm. Inc., 838 F.3d 76, 78 n.3 (1st Cir.

2016) (considering at the motion to dismiss phase the text of a publicly made press release);

Barron v. Snyder's-Lance, Inc., No. 13-62496-CIV, 2015 WL 11182066, at *3-*4 (S.D. Fla. Mar.

20, 2015) (taking judicial notice of online pricing information from certain internet retailers,

including Amazon and Walmart, on a motion to dismiss); Fernandez v. Sierra Plastics, Inc., No.

EP20CV00290DBATB, 2021 WL 1050047, at *17 n. 10 (W.D. Tex. Mar. 16, 2021), report and

recommendation adopted, No. EP-20-CV-290-DB-ATB, 2021 WL 2767299 (W.D. Tex. Apr. 6,

2021) (taking judicial notice of pricing information on an airline’s website); see also 2 McCormick

On Evid. § 330, Facts Capable of Certain Verification, (8th ed.) (“Information obtained from

online sources is becoming a frequently used basis for judicial notice. To this point, government

and corporate websites . . . are among the most commonly relied upon sources.”).

III.   CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court take judicial

notice of Exhibits 1-14 in connection with their concurrently-filed Motion to Dismiss.




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DATED: August 28, 2023                               Respectfully submitted,
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                                                     LLC, Shein Distribution Corporation, and
                                                     Roadget Business PTE. LTD.



                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was filed on August 28, 2023
through the ECF System and will be sent electronically to the registered participants as identified
on the Notice of Electronic Filing (NEF).

Dated: August 28, 2023
                                                     /s/ Harvey J. Wolkoff




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